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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                            Case No. 15-20652-04
 vs.
                                            HON. GEORGE CARAM STEEH
 D-4 COREY BAILEY,

               Defendant.
 _____________________________/

                  OPINION AND ORDER DENYING
            DEFENDANT’S MOTION TO SUPPRESS [DOC. 909]

       This matter is before the court on defendant Corey Bailey’s motion to

 suppress evidence seized by law enforcement during six separate

 incidents, which correspond to overt acts charged in the indictment. The

 court held an evidentiary hearing on April 25, 2018. For the reasons stated

 in this order, defendant’s motion to suppress is denied.

 I.    July 23, 2004 (Overt Act 104) Stop and Search of Bailey

       The government informed the court and the defendants that it will not

 be presenting any evidence of this act at trial. Therefore, the suppression

 issue as to this act is moot.

 II.   May 5, 2005 (Overt Act 102) Detention of Bailey

       The government informed the court and the defendants that it will not

 be presenting any evidence of this act at trial. Therefore, the suppression
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 issue as to this act is moot.

 III.   April 13, 2007 (Overt Act 95) Search of 14117 Collingham

        On April 13, 2007 at about 5:30 p.m., Amanda Pitts told the desk

 officer at the Fifth Precinct of the Detroit Police Department that she was

 parking her car when Corey Bailey pulled up in a Dodge van and backed

 into the front of her vehicle, causing damage. Sergeant Corey Karssen ran

 a LEIN check on Bailey and discovered a bench warrant out of the 36th

 District Court for failure to appear for a misdemeanor. The LEIN system

 listed Bailey’s address as 14117 Collingham, Detroit, MI.

        Karssen testified that on April 13, 2007, he went to 14117 Collingham

 to investigate Bailey for destruction of property. Karssen testified that he

 was met at the front door by Lakisha Bembry. Ms. Bembry told him that

 she lived at the address and allowed the officers entry. When asked, Ms.

 Bembry stated that Bailey lived there and she was not sure if he was home.

 Ms. Bembry then consented to the officers checking the location for Bailey.

        Ms. Bembry testified that the apartment was rented by a Ms. Smith,

 who allowed Bembry to live there. Ms. Smith was about 70 years old at the

 time and was also Corey Bailey’s great aunt. Bembry could not definitively

 say if Bailey lived there or if he just stayed there sometimes. Bembry

 testified that Ms. Smith was the person who answered the door when the

 officers knocked and that she declined them entry unless they had a
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 warrant. According to Bembry, the officers entered the house without

 permission.

       As Karssen looked through the house for Bailey, he smelled

 suspected marijuana coming from the basement. Karssen and Officer

 Carlos Chapman went to the basement and observed Bailey lying on an air

 mattress in a room with no door. A female, Moniqua Jones, was in the

 room with Bailey. Karssen testified that he walked around the air mattress

 and observed a small shotgun lying on the floor between the mattress and

 the wall. Karssen further testified that Officer Bickley placed Bailey into

 custody. Karssen then recovered the weapon from the floor and observed

 and confiscated eight plastic wraps of suspected crack cocaine and one zip

 lock of suspected marijuana which was in plain view on the television

 stand. Descriptions of the room given by Karssen and Jones make it clear

 that the gun and the drugs were both within arm’s reach of Bailey as he lie

 on the bed.

       Corey Bailey’s testimony differed from that of Sergeant Karssen with

 regard to the visibility of the gun and drugs. Bailey testified that his gun

 was stored in a locked cabinet inside the wall and that the police opened

 the door and found the gun. He also testified that the crack cocaine was

 not in plain view, but rather was stored in a red opaque Swisher tube on the

 television stand. Finally, Bailey disputed the amount of drugs found,
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 estimating that there was approximately a tenth of a gram of crack, for his

 personal use.

       Bailey was interrogated by Sergeant Boyle at the precinct after he

 signed a waiver of constitutional rights statement. He admitted that the

 crack found when he was arrested was his, but that he was not selling it.

 He also admitted that the gun that was found was his.

       Bailey was charged with possession of the gun. He had a lawyer in

 his state court case and was given the police report stating that Bembry

 gave officers permission to enter the house. Bailey’s lawyer filed a motion

 to suppress contesting consent based on the fact that officers pushed past

 Ms. “Bembry who was no[t] a full time resident of the home and searched

 the basement where Mr. Bailey resides.” There is no mention of Ms. Smith

 in the motion to suppress.

        “The Fourth Amendment recognizes a valid warrantless entry and

 search of premises when police obtain the voluntary consent of an

 occupant who shares, or is reasonably believed to share, authority over the

 area in common with a co-occupant who later objects to the use of

 evidence so obtained.” Georgia v. Randolph, 547 U.S. 103, 106 (2006).

 “[I]t is the government’s burden, by a preponderance of the evidence to

 show through clear and positive testimony, that . . . valid and voluntary

 consent to [a] search was obtained.” United States v. Worley, 193 F.3d
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 380, 385 (6th Cir. 1999). When considering whether consent was voluntary,

 the court should consider the totality of the circumstances. United States v.

 McCauley, 548 U.S. 440, 446 (6th Cir. 2008).

       The court finds Sergeant Karssen’s testimony to be credible that he

 would not have entered the premises without consent and that Ms. Bembry

 gave her consent. Even if Ms. Bembry did not have actual authority to

 consent to the search, the Fourth Amendment is not violated if the police

 rely in good faith on a third party’s apparent authority to consent to a

 search. See United States v. Hunyady, 409 F.3d 297, 303 (6th Cir. 2005).

 Ms. Bembry testified that she resided at the premises, thus giving her

 actual, or at least apparent, authority to consent to a search of the

 premises. See United States v. Hudson, 405 F.3d 425, 444 (6th Cir. 2005)

 (agreeing girlfriend had apparent authority where she said she lived in

 house).

       Ms. Bembry’s own testimony is that it was Ms. Smith who answered

 the door to the officers and declined to give her consent. The court was

 struck by the fact that Ms. Bembry could not recall the details of the

 incident with clarity, which is understandable given that it occurred eleven

 years prior to her testimony and she did not take any contemporaneous

 notes of what occurred. The only memory that Bembry recalled without

 hesitation was that Ms. Smith’s demeanor was “stern” with the police and
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 that she demanded that they give her a warrant before she would let them

 in. The court finds it unlikely that a 70 year old woman would speak to the

 police in this manner. In addition, Bailey addressed the issue of consent in

 his state court case and argued to that court that Bembry lacked authority

 to consent, but he did not state that Smith was the person who interacted

 with the police rather than Bembry.

       The court’s assessment of Sergeant Karssen’s testimony about

 where he saw the gun and drugs is that it was also credible. Mr. Bailey’s

 testimony, that the firearm was locked in a cabinet inside the wall and that

 the crack was hidden inside a tube and not in plain view, is self-serving and

 lacked indicia of reliability.

       The court finds that the officers had consent to search 14117

 Collingham and had probable cause to arrest Bailey for the gun and the

 drugs. The gun and drugs were in plain view, and in any event were within

 arm’s reach of Bailey as he lie on the bed.

 IV.   August 30, 2007 (Overt Act 94) Search of Bailey’s Person

       On August 30, 2007, at approximately 12:15 a.m., Officer Howard

 Sweeney, Sergeant Karssen and Officer James Oshea were traveling on

 Manning Street when they observed a person in the upstairs window of

 14560 Manning St. Sweeney knew the location to be a vacant dwelling.

 As the officers approached the location, Ms. Jacqueline Swanger came out
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 of the side door and was detained by Officer James Oshea. Karssen and

 Sweeney entered and began to clear the location. Karssen detained three

 females and one male upstairs. Sweeney discovered Bailey hiding behind

 the furnace and water heater in the basement. Sweeney arrested Bailey

 for entering without permission (“EWOP”). During Officer Sweeney’s

 search of Bailey incident to arrest, he recovered one knotted clear plastic

 baggie containing two clear plastic wraps of suspected crack cocaine

 sticking out of the rear of Bailey’s boxer shorts. The other individuals were

 issued tickets and were released.

       Bailey testified that he did have drugs on his person, but that they

 were hidden in his buttocks and were not visible. He contends that

 Sweeney cuffed him, brought him upstairs, lined all of the individuals up on

 their knees, and searched them. Bailey testified that Karssen and

 Sweeney pulled down his pants and found the plastic bag of crack in his

 buttocks.

       Bailey moves to suppress the drugs recovered on August 30, 2007.

 The court finds the testimony of Officer Sweeney, that the bag containing

 drugs was visible on Bailey’s person, to be credible. “Among the

 exceptions to the warrant requirement is a search incident to a lawful

 arrest.” Arizona v. Gant, 556 U.S. 332, 339 (2009). “The exception derives

 from interests in officer safety and evidence preservation that are typically
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 implicated in arrest situations.” Id. Entering a premises without

 permission is a misdemeanor under Michigan law, see Michigan Penal

 Code § 750.115, giving officers a justification to arrest Bailey. Officer

 Sweeney recovered crack cocaine from Bailey’s person, which is within the

 scope of a search incident to arrest. Id.

 V.    October 27, 2009 (Overt Acts 73-74) Vehicle Stop

       On October 27, 2009, officers from the West Virginia Metro Drug

 Enforcement Network Team Task Force were conducting surveillance at

 the Greyhound Bus station in Charleston, WV based on an on-going

 narcotics trafficking investigation at that location. At approximately 1:30

 a.m., Officer Napier radioed that a male individual tried to enter the bus

 station, but the door was locked. The male got back into a dark colored

 vehicle and drove off. Hackney testified that it was common for people

 involved in the opioid trade to come to the bus station and buy a ticket just

 before the last bus of the day was leaving. Officer Hackney’s team

 followed the vehicle and noticed that the rear brake light was out. Hackney

 radioed for Officer Schuman, who was acting as uniform assistance, to

 conduct a traffic stop of the vehicle for defective equipment.

       Hackney continued to follow the vehicle as it circled around the

 Greyhound station and stopped in the middle of the road outside the bus

 loading area. Officer Schuman had not arrived yet, so Hackney and his
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 team put on their badges and approached the stopped vehicle. Hackney

 testified that when the front passenger (Corey Bailey) put his window down,

 he had a surprised look. While Hackney talked to the female driver, Bailey

 and the rear passenger began to move around and place their hands in

 their pants’ pockets. They did not follow Hackney’s directions to stop

 moving and to keep their hands where the officers could see them.

       Hackney testified that he told Bailey to step out of the vehicle.

 Hackney noticed Bailey was sweating profusely and he explained he was

 not feeling well. Hackney patted him down for weapons and none were

 found. Hackney then asked his name, to which he falsely replied “Dwayne

 Pruitt.” The other male passenger exited the vehicle and was patted down

 by Detective Welsh. He identified himself as Devon McClure. The female

 identified herself to Officer Hackney as Justine Parker. Ms. Parker gave

 verbal consent to search her vehicle.

       Detective Keven Allen searched the trunk and found a green jacket

 and black duffle bag. Ms. Parker hesitated and then said the bag was not

 hers. Mr. McClure said the bag was his and that it contained a small

 amount of marijuana. Allen searched the bag and located $3,100 in

 currency inside a tennis show as well as a bag of suspected marijuana.

       A summons for possession of marijuana was issued to Mr. McClure

 and his money was seized. The driver was not given a ticket for defective
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  equipment. Bailey was not cited, and all three individuals were released.

  Officers later determined that Mr. Pruitt was Corey Bailey.

         Defendant moves to suppress evidence that Bailey gave a false

  name to law enforcement. The government argues the vehicle stop was

  constitutional as an investigational stop because the officers had probable

  cause to believe a traffic violation had occurred. See Whren v. United

  States, 517 U.S. 806, 810 (1996). West Virginia Code Sections 17C-15-

  1(a) and 17C-15-18(b) provide that it is a misdemeanor to drive a vehicle

  that does not contain properly functioning brake lights.

        Corey Bailey testified that as far as he knew, the brake light on Ms.

  Parker’s vehicle was not out, however he could not say this for certain.

  Officer Hackney testified that the brake light was out, and he put that in his

  report of the incident. Defendant questioned Hackney about a Canine Use

  report he prepared and signed in 2013 that was later discovered to be

  false. Hackney admitted that he put false information in the report, for

  which he was reprimanded. He explained that he created the report at the

  end of each month instead of daily, and had to use forms and logs to make

  sure he was not missing any time in which his police dog was used. He put

  in his report that he used his dog to sniff for drugs during a particular

  investigation, when in fact he did not. In this case, Hackney prepared his

  report on October 28, 2009, the day following the incident. The court does
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  not believe that Hackney’s dishonesty in accounting for the Canine Use

  report casts doubt on his testimony or his report of the vehicle stop

  involving Bailey.

        This incident was a lawful encounter because the officers had

  probable cause to believe that a traffic infraction had been committed.

  During the traffic stop Bailey gave a false name to officers. No suppression

  is warranted.

  VI.   February 8, 2012 (Overt Acts 65-66) Search of Apartment and
        Bailey’s Person
        On February 8, 2012, law enforcement went to the apartment of

  Adam Halstead based on previously obtained information that he had

  individuals staying with him who were selling pills illegally. Detectives

  Allen, Petty, Higginbotham and Carper went to Halstead’s apartment

  located at 27 Hambrick Lane, Apartment D, Cross Lanes, West Virginia to

  conduct a knock and talk interview. When Detective Allen knocked, the

  door was answered by Mr. Halstead and two other individuals. Allen

  identified himself and stated he had information that people were using the

  apartment to sell drugs. Mr. Halstead gave written consent to search the

  apartment. The other two individuals stated they did not live in the

  apartment and were just visiting.

        One of the individuals identified himself as Eric Brown (he was later


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  identified as Corey Bailey). Detective Petty had stopped this individual on

  numerous occasions coming and going from the Greyhound Bus Station

  and knew that Eric Brown was not the individual’s name, though he could

  not remember his real name. The second individual was Tyrone Hawkins.

        Detective Allen testified that he asked for and received verbal

  consent to pat down the two individuals for weapons or other contraband.

  Detective Allen felt a large amount of money in Bailey’s front left pocket.

  Bailey said he had around $2,000 and gave consent to examine the

  currency and continue the search of his person.

        As Allen continued his search of Bailey, he felt a plastic bag

  containing an unknown hard substance in the crease of Bailey’s buttocks.

  Bailey jerked away and put his hand to his buttocks area. Bailey became

  agitated and struggled. Allen informed Bailey he was under arrest. Allen

  placed the handcuffs in front to prevent Bailey from accessing his buttocks.

  As Allen walked Bailey out of the apartment, Bailey reached into his front

  left pocket and pulled out the currency and threw it in the air. The currency

  hit Detective Petty in the face, and Bailey apologized and explained he was

  trying to give the money to his friend. Detective Higginbotham collected the

  currency and Allen informed Bailey he was seizing the money.

        At the station, Bailey voluntarily removed the pills from his body.

  Bailey told Higginbotham the bag contained “about 54 pills.” Allen collected
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  the bag which contained approximately 53 Opana pills. While walking

  Bailey to the courthouse, Allen and Higginbotham were talking about the

  price of Opanas. Without being questioned, Bailey stated he sold Opana

  pills for $40 a pill and was aware they were being sold for up to $80 a pill.

  Bailey also said he was mad because he could have taken “10 stacks”

  back to Detroit if the police had not intervened.

        Bailey argues the detectives entered the apartment without lawful

  consent and then searched him without consent. The count finds that the

  search of the apartment was done with consent because Halstead signed a

  valid written consent form. As for searching Bailey’s person, Allen and

  Bailey both testified that Bailey consented to an initial search for weapons.

  Having found a large amount of currency in Bailey’s pocket, knowing that

  Bailey gave an incorrect name, and working from a tip that people were

  selling illegal drugs from the apartment, Allen asked Bailey if he could do a

  further search of his person. Allen testified that this was his regular

  practice in such situations and that Bailey gave further consent. Bailey,

  however, testified that he did not consent to a more intrusive search of his

  buttocks and that he withdrew any consent he might have given when the

  officer searched his buttocks. The court finds Allen’s testimony to be

  credible.

        Defendant moves to suppress the currency, the alias and the drugs.
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  The court finds that Halstead gave consent to search the apartment, Bailey

  voluntarily consented to the search of his person, and Bailey also

  voluntarily turned over the drugs at the police station. Defendant’s motion

  to suppress the evidence from this incident is denied.

        IT IS SO ORDERED.

  Dated: May 9, 2018
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                         May 9, 2018, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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